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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                    FAYETTEVILLE DIVISION



   UNITED STATES OF AMERICA                                           PLAINTIFF/RESPONDENT

                   v.                    Civil No. 05-5160
                                     Criminal No. 04-50015-002

   JOSE MANCILLA-OREGON                                                  DEFENDANT/MOVANT


                                             ORDER

           Movant, a federal prisoner presently housed at the Federal Correction Institute, Oakdale,

   Louisiana, has filed a Motion Under 28 U.S.C. § 2241 for review by this court (Doc. #116).

   Having reviewed the motion, respondent is ordered to file a response within thirty (30) days from

   the date of this order.

           IT IS SO ORDERED this 21st day of September 2005.




                                                     /s/Beverly Stites Jones
                                                     HON. BEVERLY STITES JONES
                                                     UNITED STATES MAGISTRATE JUDGE
